
83 Ill. App.2d 422 (1967)
228 N.E.2d 179
The People of the State of Illinois, Plaintiff-Appellee,
v.
John Wesley Harris, Defendant-Appellant.
Gen. No. 66-136.
Illinois Appellate Court  Fifth District.
July 1, 1967.
Hoaglund, Maucker, Bernard &amp; Almeter, of Alton (James K. Almeter, of counsel), for appellant.
Leon G. Scroggins, of Edwardsville, for appellee.
(Abstract of Decision.)
Opinion by JUSTICE GOLDENHERSH.
Judgment reversed and cause remanded for a new trial.
Not to be published in full.
